Case 1:18-cV-0134O-WTL-DI\/|L Document 1-1 Filed 05/02/18 Page 1 of 7 Page|D #: 4

EXHIBIT A

\-.- -.vMM-v.vw.~ .1.-.-,,

.~.-. ._wm\,\.-\w(M-,.

.,.mw.-> \.,<~...- -¢.M\-.- __ .\ , ' -

 

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68C01-1 804-CT-000251 Filed: 419/2018 10:33|An|n(
B|'
Randolph Clrcult Court Randolph County, Indlana
STA‘TB O¥F NDIANA 3 m 1'HF RANDOL?PH'<':JRCUIT cosz
_ _ }SS';
C_OUNTY OF RAN,DOLP.H ) QAU_SEN(I)_‘;;__53_(_;0_1.,;1_304_§]‘.

TRA,_.GI. M I‘RANKLlN and
WI.L-LI?AM FRAH.<LIN,
Pl.ai.mil!§,

V.

'KM'"DOLPH .COUN.'\:Y C<)lvnvnsszo)~avs

:R=A_ND_GLPH COUNTY ;SI:I_ERrFF-, and;

W'INCHES'I"ER POLICE ?])EPA&TMENI,=
Défcndants.

 

Qome now the Plaintif£`_s, ?'l_"_r'aqi M F.rar`aklili:a`dd Wil!iam Frmiklin, by counsel,_, lanes-_A.
Schafer, P~AIN']`ER &- _SCHAEER',_;&¥.K.I ?D.Q!_$_f.l`ld K. MQC;I¢HHH],'M§CI-,`BLLAN.&:MCCLELLAN$. and
for rhei'r. cause of.action against`thc Dcfe_ndant`s,.RandQl]§h Counfy C`ox'r'j\_misjsioné,fs,,']{'<`lr`ldoi'ph County
She-ri`ff and Wi`nchester 'Police D¢_:pag'.t,l_zge_qt; ~all¢ge_a_nd says

l`1_. "fhat a_t all iimes metitionecifherein,'the Plain`lit_’fs,_"=l_`r_a¢i M__. Eranldil_a and Wil]__iam Prmilclilx,
were rc§.i.d.¢nis. of _R__'a'n_dolp_h 'Cmm’cy-_. =-_Sta,t_'e df:[r'i§rl'iaha.

2. 011 or about April 8; 20:16,- at~ approximai;_ejly midni@t,i"_laintift§ Tmci MFranklin. was
operating a motor vehicle =an'd zretuming -to~ .f_he~x~' `h.om_¢ aftcl_‘_. Wprkin_g a 14`~}10\.\'1' shift `i`n .fsnowy
conditions,_ which resul‘tédl-ih.hazar`dous driving conditions.-

3. Mrs,._ Frajnklin,_"izs~zi;pro>'<;._imaté.r.eslilt-of_béiqg-Ercd and :stccssed, made a_- rolling stop at `_th¢_
zinter_seetipn o`f.Meridia,n. .an.d. Wes't='¢i‘*" Strcet 1111 Wm¢hc»:'ster, R;z_m_d<')`lph "C,o'uri t_y, Indi`ana`

4.. Mrs, .`Franklin 'thg,r_x. §um§d into her g_lriyeyy'_ay, .lo'c_afeq :af'ZZ-Z_-S_` \V'ej_st'_ '4”" Stze§;t, Winc`h§'st_er,

.Indiana,_ and was followed `by.a_po'liec cruiser with weir lights -on.

 

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dm

'5. The_p_ol_ice o'chcr'the.n approached 'Mrs. Franklin"--s vehicl_e,--a_n,d-aftgr a'_s;hqrt convezsat`lp;_z
he grabbed Mrs..- Frajnk{lin `aha:pulleff'h'e_.r.éh_ii ZjQut,dlf"thé vehicle. Mrs. Frimklin?~.s-arm was pinned to
the ds):ori Ml:s.. P`mklin cdmplained r.<);f'pz.\i"n:z due §o_ex¢¢sslve-force_, and was~.-zhen~threaten¢d with
an oft`zcer’$ tasen

'6-. Ai`ter- a brief struggl¢~, Mx_'s. `Fra;il§li;x Was'forc<_:ii_l]`ly remove dffror'n_ h§r~ychi<_§le-and cnffe¢
'The two ~male.' <)'ff`ic'ers, acting as. servants-,-.agex,l'ts an_d employees of both ~_ih_e Rgndolp'_h '(_§§)unty
Sheriff‘s _Office, or the Wil`achéster:£_olice.Dépm't_ment, then_ proceeded.to: body search M_rs. Pran`ldin,
.de$pilé her re__qu;:'st for zz fbmal`é oHicer:élue 'to 'b"e`ihg the 'wiiéiiin.<')f s"exual abuse as a chil§, Her
request was denied and ihe'male;of.ii§§ts.-continu¢d ih'ei'r`bod__y search

7-. Mr;s. F'rank}in was maggng zs<.:x:ub§: dle w the-fact that :sh¢ had just led her place; of-
e:rn_ployment, and as she was being:_rer,nove_d from her Vehic‘_ie, h_ez_‘gsc_-:_r_u_b -par_;`ts`beg_a,n_cpming'down.
Mrs. Franklin requested 'the--ofticers-;assist~her in_ placing her pants back in the proper-position, but-
Erankli_n-in adjusting her clothing

8. Mrs_-. F.rank_l_in rcql,l@§t.¢d».she be allowed her-puc ;teieph<jm_e;o;all__, ib‘ut wa,_s.den"ied hair right.

9, _`M}`l‘s. Franklin informed the officers.hcr_ arm Was hurting but was denied _a'n_-y n'_g_¢__d'i_oej.I
attention.

10.' -Mrs. F_ca_nld.in wgs' mensxruaffing..at the iri.rjn.é and rcqu;e,§t_ed g fe_r'nini.ne hygiene pz;d_, but

was denied_.

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11.¢ 'Upon her release .'BFQIH th.=RandO} ph .GO_!l.IIf§_/'- 'J_B.ILMI"S F'falik!in Wénf 10 )‘3.£`1111\".[¢1119!3'al
Hosyil‘;zzl. fan treatment and-was infomed.$he_ .hadiwo (_2)'1_`1~_aetu_re_s Qf,fi_e'r~.elb.€>.w `a`illd l__l__pgp_.er' arm-and
strained ligarn¢nts. caused by the :oHicers." excessive force dwi'ng '.her» arrest As a direct epa
proximate result of her inj}zi{ije$, _Mrs;._ Frankljin'has Suff`éted emo"tidhal Siréss`, physical injuries_j__pain
and suffering,_'ho_spital an_d medic_a{ expepse_s, l_o_sf'»y*¢l_ges', pelm_anentimpaifhle,r`lt_, and such damages
'wi}l continue into fthe future

121 "l’}ielz the ofticex"s were employees ofthe-Defendants,_=and each Qf mink and`were_:actin_g
Wl`.thin.the scope e'-f their empie§mem.

1.3.`... .T.he of£ccrs wereeareil`ess.=nnd negligent aud.iised.exeessive foree-againsc.Mi-s~. ryanklin,
yiolaced her~ei_vil rights and~causedher physie_a'l_, etjm.)t`ipn;z.la and mental §r;xjur§ies§as a. result Qf_.their
un'\\'arf_anted.~ac.tions.

14. ;As a d`irect_an'd_ proximate result of '_i_he carelessness and_-.negl_i;ge;_lce-Qf'the .Defeudants,
`th_e IP'lzi{n.ti'€l`l"_`_, "Will'iam Frarlklin,_has.los't~the.sewilees ~z;nc'l_'cqns_ol;tiur,n§b'_l".-l),i§ Wife,- szeciM.; Fran_ld_in,
and will continue m incur such dwna<¢c»m fha future

mIEREFORE rh¢. yl¢.znii;£f§,_ rmi _M'.. woman end Win_iam =F`ranki-w, spray iqumem
:@ainst ihe--D,e"fendants_, Rando‘lp'h. County Ccm'm:(ission_ersj Randol_ph Coun`ty ~She;ift"is Departmeni
and W_indhes‘ter Poli_`ce D'ephrtmeii`t§ in such amounts is fair-and leesonable;~z_mdju_siin jthepre`»mises.

_Atton`iey`s fer- Plaintif_f`s,_
"-Ir.aei 'M. Franklin end 'Wiiliam Fr'anklin

s?)#} '
/ ' _
B)'= ft _»“'jzf
lames ge 836/_§'__ if

       

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"PJUNT;BI{. &. S.C-I-=IAFER

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-(_;765_) 282-10_~1.9

 

 

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(_"265) 288~‘7746

 

 

*.v.. .\.w\'v). .‘.'/

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CIVIL NOTICE
RANDOLPH CIRCUIT COURT

TRACI FRANKLIN V. RANDOLPH COUNTY COMMISSIONERS
68C01-1804-CT-000251

 

TO: RANDOLPH COUNTY COMMISSIONERS
106 SOUTH MAIN STREET, 3RD FLO
COURTHOUSE
WINCHESTER IN 47394

 

 

ATTORNEYS PARTIES
PLAINTIFF
10945-18 DONALD MC CLELLAN TRACI M FRANKLIN
10045~18 DONALD MC CLELLAN WILLIAM FRANKLIN
DEFENDANT

RANDOLPH COUNTY COMMISSIONERS
RANDOLPH COUNTY SHERIFF
WINCHESTER POLICE DEPARTMENT

 

04/16/2018

The Court, having reviewed this cause, now disqualifies and recuses
himselfand directs the Clerk to appoint Special Judge in accordance with
Trial Rule 79(H). sae

h Case 1:18-cV-0134O-WTL-DI\/|L Document 1-1 Filed 05/02/18 Page 7 of 7 Page|D #: 10

STATE OF lNDlANA ) lN THE ClRCUlT COURT

)SS:
COUNTY OF RANDOLPH ) 2018 TER|\/l

CAUSE NO. 68COl-1804-CT-000251

lN RE:
TRACl |Vl FRANKL|N and
WlLLlAlV| FRANKLlN

Plaintiffs F§LED
VS .
Z/APR 1 7 2013
RANDOLPH COUNTY COl\/ll\/l|SSlONERS,
RANDOLPH COUNTY SHER|FF, and
WlNCHESTER POL|CE DEPARTMENT c"~E°"<R»*\NDQH HciRoun-Ooum.

Defendants

APPO|NT|V|ENT OF SPEC|AL .lUDGE

Comes now, Laura J. Nlartin, duly elected and qualified C|erk of the Randolph Circuit Court and
pursuant to the direction on April 16, 2018, by Jay L Toney, Judge of the Randolph Circuit
Court, does hereby appoint the Honorab|e .|udge Bob A Witham, Judge of the Henry Circuit
Court #1 as Special Judge in this matter. This appointment is pursuant to Tiial Rule 79(H) and
Local Rule ofthe Randolph Circuit/Superior Courts,

This 17th clay of Apri|, 2018. y% // :/'

LauraJ. i\/|artin, /C|erl<
Randolph Circuit Court " i_ _

l certify that copies were mailed to the following:

Honorable Bob A Witham, Judge Henry Circuit Court #1 1215 Race St #340 New Castle |N
47362

Donald K |VlcClellan, 201 N High St l\/luncie, |N 47305

Randolph County Commissioners, Courthouse mail box

Randolph County Sherif'f, Courthouse mail box

Winchester Police Department, 113 E Washington St #1 Winchester lN 4_7394

/ZM ///

auraJ. l\/lartin, C|erk
Randolph Circuit Court

T,his 17“‘ day of April, 2018.

